

Per Cur.

The act of assembly gives the court power, in case none of the distributees apply for administration, to grant it to a creditor, or to any other person the court shall, in their discretion, think fit. So that, upon the words of the statute, a creditor has no preference over any other person; but every case must depend upon its own circumstances. The appellant, therefore, has no right to a preference, unless the circumstances of his .case require it: But he has shewn nothing to differ it from cases in general; and-consequently has no claim to priority. Looking, therefore, to the discretion of the court below, we cannot say it has been improperly exercised in that respect. The other point is equally clear. For the bill of exceptions does not make it' a question, whether the'powers of attorney were duly executed ? but whether the attorney could give bond for the principal ? The court below thought they could ; and this court concurs in that opinion. The motion to release is therefore denied.
